                               NO. 07-12-0415-CR

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                               FEBRUARY 1, 2013
                        ______________________________


                           JOSEPH TAYLOR, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE


                       _________________________________

              FROM THE 140[TH] DISTRICT COURT OF LUBBOCK COUNTY;

               NO. 2011-431936; HONORABLE JIM BOB DARNELL, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                             ABATEMENT AND REMAND
	Pursuant to an open plea of guilty, Appellant, Joseph Taylor, was convicted of third degree felony possession of marijuana.  Both the clerk's record and reporter's record have been filed.  Appellant's brief was due to be filed on December 31, 2012, but has not been filed.  By letter dated January 11, 2013, counsel for Appellant, Jesse Mendez, was advised that the brief remained outstanding and was granted until January 22, 2013, in which to file the brief, noting that failure to comply might result in abatement of the appeal and remand of the cause to the trial court for further proceedings without further notice.  Counsel has not responded to the notice nor communicated with the Clerk of this Court regarding this appeal.
Consequently, we now abate this appeal and remand the cause to the trial court for further proceedings.  Upon remand, the trial court shall immediately determine why counsel has failed to file Appellants brief and take such action as is necessary to ensure that the brief is filed in accordance with this opinion.
Should counsel file Appellant's brief on or before, February 15, 2013, he is directed to immediately notify the trial court, in writing, of the filing, whereupon the trial court shall not be required to take further action.  If, however, the brief is not filed by that date, pursuant to Rule 38.8(b)(2) and (3) of the Texas Rules of Appellate Procedure, the trial court is directed to conduct a hearing to determine the following: 
* whether Appellant still desires to prosecute the appeal;

* whether Appellant remains indigent and is entitled to appointed counsel; and

3. 	whether Appellant has been denied effective assistance of counsel and is entitled to new appointed counsel.

See Guillory v. State, 557 S.W.2d 118, 121 (Tex.Crim.App. 1977).
Should it be determined that Appellant does want to continue the appeal and the trial court determines he is entitled to new appointed counsel, the name, address, telephone number, and state bar number of the newly-appointed counsel shall be provided to the Clerk of this Court.  The trial court shall execute findings of fact and conclusions of law, and shall cause its findings, conclusions, and any necessary orders to be included in a supplemental clerk's record to be filed with the Clerk of this Court by March 4, 2013.  If new counsel is appointed, Appellant's brief shall be due thirty days after the date of appointment; however, should Jesse Mendez be allowed to remain as appointed counsel, he is hereby ordered to file Appellant's brief instanter.
It is so ordered.
							Per Curiam
							      

Do not publish.

